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                                                   21-cv-1597(RAM)




                                        MARIA ANTONGIORGI-JORDAN, ESQ.

                                                           Digitally signed by Antonio
                                                           Rodriguez-Gonzalez
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                                          MARIA ANTONGIORGI-JORDAN, ESQ.

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                                                            Rodriguez-Gonzalez
12/13/2021                                                  Date: 2021.12.13 09:44:27 -04'00'
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                                         MARIA ANTONGIORGI-JORDAN, ESQ.

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                                                            Rodriguez-Gonzalez
12/13/2021                                                  Date: 2021.12.13 09:44:41 -04'00'
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                                         MARIA ANTONGIORGI-JORDAN, ESQ.

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                                                             Rodriguez-Gonzalez
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